UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 RICARDO VELASQUEZ,                                           :
                                              Plaintiff,      :    22 Civ. 7115 (LGS)
                                                              :
                            -against-                         :         ORDER
                                                              :
 1517 NEW BANI GROCERY, INC., et al.,                         :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an Order issued September 14, 2022, set an initial pretrial conference in this

case and directed the parties to submit a joint letter and proposed case management plan seven

days prior to the conference.

        WHEREAS, an Order issued October 13, 2022, adjourned the initial pretrial conference to

November 23, 2022. That Order further directed Plaintiff to file proof of service of Defendants.

The same day, Plaintiff filed affidavits of service indicating he served Defendants through the

New York Secretary of State. Defendants have not yet appeared in this case.

        WHEREAS, the parties have not filed the joint letter and proposed case management plan.

It is hereby

        ORDERED that the initial pretrial conference is ADJOURNED to December 7, 2022, at

4:10 p.m. The conference will be telephonic and will take place on the following line: 888-363-

4749, access code 558-3333. It is further

        ORDERED that, if Plaintiff is in communication with Defendants, the parties shall file

the joint letter and proposed case management plan as soon as possible, and no later than

November 30, 2022. If Plaintiff is not in communication with Defendants, Plaintiff shall attempt

to serve Defendants via FedEx at their places of business, and file proof of service on ECF, by

November 23, 2022. It is further
        ORDERED that if Plaintiff cannot contact Defendants by November 30, 2022, Plaintiff

shall file a status letter (1) requesting further adjournment of the initial conference for up to thirty

(30) days and (2) proposing a date prior to the conference to present an Order to Show Cause for

default judgment as to Defendant and related papers as provided in the Court’s Individual Rules.

Dated: November 17, 2022
       New York, New York




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